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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. CR S 10-223 JAM
12                                Plaintiff,             STIPULATION REGARDING DEFENDANT’S
                                                         COMPETENCY; FINDINGS AND ORDER
13                          v.
                                                         DATE: December 9, 2014
14   CONNIE DEVERS,                                      TIME: 9:30 a.m.
                                                         COURT: Hon. John A. Mendez
15                               Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a hearing on December 9, 2014 at 9:30 a.m.

21          2.     The parties agree and stipulate, and request that the Court find the following:

22                 a)      The parties and the Court are in possession of a competency evaluation report

23          dated October 30, 2014, and prepared by John M. Greene, M.D. In that report, Dr. Greene sets

24          forth a description of his examination of Ms. Devers and related records, as well as his

25          conclusions as to her competency to stand trial. Ultimately, Dr. Greene concludes that “Ms.

26          Devers currently has an inability to understand the nature and consequences of the proceedings

27          against her, and to assist properly in her defense, due to the mental disease of Major

28          Neurocognitive Disorder.” (Report, P. 8).


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 1                b)      In diagnosing Ms. Devers, Dr. Greene opines that her disorder is “due to the

 2         treatment she has received” for her illness, which has previously been disclosed to the Court.

 3         (Report, P. 7) Dr. Greene explicitly states that her cognitive impairment is a result of the

 4         treatment she is receiving for her illness. (Id)

 5                c)      The parties believe that Dr. Greene’s report provides the Court with a sufficient

 6         basis for finding that Ms. Devers is “presently suffering from a mental disease or defect

 7         rendering [her] mentally incompetent to the extent [she] is unable to understand the nature and

 8         consequences of the proceedings against [her] or to properly assist in [her] defense.” 18 U.S.C.

 9         § 4241(d).

10                d)      Under the terms of the statute, once a finding of incompetency is made, “the court

11         shall commit the defendant to the custody of the Attorney General” so that the defendant may

12         receive treatment and a determination may be made as to whether the defendant will attain the

13         capacity to allow proceedings to go forward. 18 U.S.C. § 4241(d)(1). In this case, given the

14         defendant’s physical condition, and the fact that her incompetency is apparently caused by the

15         treatment she needs to treat that condition, the parties agree that commitment is inappropriate.

16         Instead, the parties jointly request that this matter be continued for a period of roughly 4 months,

17         to April 7, 2015 at 9:30 a.m. At this point the parties can assess and inform the court as to: a) the

18         defendant’s current physical condition; b) the defendant’s current course of treatment; and c) the

19         present impact of that treatment upon her competency.

20                e)      If the Court determines that the defendant is presently incompetent to stand trial,

21         time is excluded from computation under the Speedy Trial Act from the present date through

22         April 7, 2015, pursuant to 18 U.S.C. § 3161(h)(4) [Local Code N].

23 IT IS SO STIPULATED.

24
     Dated: December 8, 2014                                  BENJAMIN B. WAGNER
25                                                            United States Attorney
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                                                              /s/ PHILIP A. FERRARI
27                                                            PHILIP A. FERRARI
                                                              Assistant United States Attorney
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 1 Dated: December 8, 2014                                    /s/ Philip A. Ferrari for
                                                              Mark Reichel, Esq.
 2                                                            Counsel for Defendant
 3                                                            Connie Devers

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 5
                                            FINDINGS AND ORDER
 6
            Consistent with the parties’ stipulation and the evidence before the Court, it is hereby found that
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     the defendant, Connie Devers, is “presently suffering from a mental disease or defect rendering [her]
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     mentally incompetent to the extent [she] is unable to understand the nature and consequences of the
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     proceedings against [her] or to properly assist in [her] defense.” 18 U.S.C. § 4241(d). For the reasons
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     stated in the parties’ stipulation, the Court will not commit the defendant to the custody of the Attorney
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     General for additional treatment and evaluation. This matter is set for a status conference on April 7,
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     2015, where it is expected the parties will inform the Court of the defendant’s present condition. The
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     time between today’s date and April 7, 2015, shall be excluded from computation under the Speedy
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     Trial Act from the present date through April 7, 2015, pursuant to 18 U.S.C. § 3161(h)(4) [Local Code
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     N].
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            IT IS SO FOUND AND ORDERED this 8th day of December, 2014.
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19                                                     /s/ John A. Mendez
                                                       THE HONORABLE JOHN A. MENDEZ
20                                                     UNITED STATES DISTRICT COURT JUDGE

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      COMPETENCY
